Case 2:20-cv-08892-PA-AFM Document 30-2 Filed 12/14/20 Page 1 of 23 Page ID #:195


   1 BEVERIDGE & DIAMOND, P.C.
   2 Kaitlyn D. Shannon (SBN 296735)
     456 Montgomery Street, Suite 1800
   3 San Francisco, California 94104-1251
     Phone: (415) 262-4000
   4 Email: kshannon@bdlaw.com
   5
     Bryan J. Moore (pro hac vice)
   6 400 West 15th Street, Suite 1410
     Austin, Texas 78701-1648
   7 Phone: (512) 391-8030
     Email: bmoore@bdlaw.com
   8
   9 Attorneys for Plaintiff
     3M Company
  10
                           UNITED STATES DISTRICT COURT
  11                     CENTRAL DISTRICT OF CALIFORNIA
  12
       3M COMPANY,                               CASE NO. 2:20-CV-08892-PA-AFM
  13
                            Plaintiff,
  14
             v.                                  DECLARATION OF KELLY N.
  15                                             BENNETT IN SUPPORT OF
       G7 ENVIRONMENT, LLC, et al.,              PLAINTIFF 3M COMPANY’S
  16
                            Defendants.          MOTION FOR EXPEDITED
  17                                             CONTINUANCE OF SCHEDULING
  18                                             CONFERENCE AND MOTION TO
                                                 STRIKE DEFENDANTS’ ANSWER
  19
                                                 Judge:     Hon. Percy Anderson
  20                                             Courtroom: 9A, 9th Floor
  21
                                                 Hearing on Motion for Continuance:
  22                                               Dec. 21, 2020, at 1:30 p.m.
  23                                             Hearing on Motion to Strike:
                                                   January 25, 2021, at 1:30 p.m.
  24
                                                 Filed Concurrently:
  25                                                1) Motion for Expedited
                                                       Continuance of Scheduling
  26                                                   Conference
                                                    2) Motion to Strike Defendants’
  27                                                   Answer
  28

       DECLARATION OF KELLY N. BENNETT
       CASE NO. 2:20-cv-08892-PA-AFM
                                           -1-
Case 2:20-cv-08892-PA-AFM Document 30-2 Filed 12/14/20 Page 2 of 23 Page ID #:196


   1                     DECLARATION OF KELLY N. BENNETT
   2         I, Kelly N. Bennett, declare as follows:
   3         1.    I am over the age of 18 years, and am not a party to the within action. I
   4 am employed in the County of San Diego, State of California, as a paralegal with the
   5 law firm of Beveridge & Diamond, P.C., counsel for Plaintiff 3M Company (“3M”).
   6 I submit this Declaration in support of 3M’s Motion for Expedited Continuance of
   7 Scheduling Conference and Motion to Strike Defendants’ Answer. If called as a
   8 witness, I could and would testify competently to the facts stated in this Declaration.
   9         2.    Attached hereto as Exhibits A and B are true and correct copies of letters
  10 (without noted enclosures) that 3M’s counsel, Bryan J. Moore, wrote to Defendants
  11 Galvez, Forbes, and Allyn. At Mr. Moore’s direction, I served Exhibits A and B
  12 (with noted enclosures) on Defendants Galvez, Forbes, and Allyn on the dates and in
  13 the manner described below.
  14         3.    On November 9, 2020, I served Exhibit A (with noted enclosures) on
  15 Defendants Galvez, Forbes, and Allyn by placing a true and correct copy of the
  16 documents in a Federal Express envelope addressed as set forth below and then
  17 sealing the envelope, affixing a pre-paid Federal Express air bill, and causing the
  18 envelope to be delivered to a Federal Express agent for delivery, in the manner as
  19 provided by Fed. R. Civ. P. 5(b) and L.R. 5-3.1.2:
  20      Aurie Galvez (Pro Se)
          9350 Wilshire Boulevard, Suite 203
  21      Beverly Hills, California 90212
  22
          Thomas Forbes (Pro Se)
  23      3410 La Sierra Ave., Ste. F-496
          Riverside, California 92503
  24
  25      Kevin Allyn (Pro Se)
          10153 Riverside Dr., #756
  26      Toluca Lake, California 91602
  27         4.    On November 18, 2020, I served Exhibit B (with noted enclosures) on
  28 Defendants Galvez, Forbes, and Allyn by placing a true and correct copy of the

       DECLARATION OF KELLY N. BENNETT
       CASE NO. 2:20-cv-08892-PA-AFM
                                                -2-
Case 2:20-cv-08892-PA-AFM Document 30-2 Filed 12/14/20 Page 3 of 23 Page ID #:197


   1 documents in a Federal Express envelope addressed as set forth below and then
   2 sealing the envelope, affixing a pre-paid Federal Express air bill, and causing the
   3 envelope to be delivered to a Federal Express agent for delivery, in the manner as
   4 provided by Fed. R. Civ. P. 5(b) and L.R. 5-3.1.2:
   5      Aurie Galvez (Pro Se)
          9350 Wilshire Boulevard, Suite 203
   6      Beverly Hills, California 90212
   7
          Thomas Forbes (Pro Se)
   8      3410 La Sierra Ave., Ste. F-496
          Riverside, California 92503
   9
  10      Kevin Allyn (Pro Se)
          10153 Riverside Dr., #756
  11      Toluca Lake, California 91602
  12         5.    Attached hereto as Exhibit C are true and correct copies of the delivery
  13 confirmations that I received from Federal Express, confirming delivery of Exhibit A
  14 (with noted enclosures) on Defendants Galvez, Forbes, and Allyn on November 10,
  15 2020.
  16         6.    Attached hereto as Exhibit D are true and correct copies of the delivery
  17 confirmations that I received from Federal Express, confirming delivery of Exhibit B
  18 (with noted enclosures) on Defendants Galvez, Forbes, and Allyn on November 20,
  19 2020.
  20         7.    The “FROM” address in each delivery confirmation in Exhibits C and
  21 D is Mr. Moore’s office address; however, per the Federal Express tracking history,
  22 as shown in Exhibits C and D, the Federal Express envelopes containing Exhibits A
  23 and B (with noted enclosures) were delivered to a Federal Express agent for delivery
  24 (by me) in San Diego, California.
  25         I declare under penalty of perjury under the laws of the United States that the
  26 foregoing is true and correct.
  27 DATED: December 14, 2020                        By:   /s/ Kelly N. Bennett
  28                                                       Kelly N. Bennett

       DECLARATION OF KELLY N. BENNETT
       CASE NO. 2:20-cv-08892-PA-AFM
                                               -3-
Case 2:20-cv-08892-PA-AFM Document 30-2 Filed 12/14/20 Page 4 of 23 Page ID #:198




                         EXHIBIT A
Case 2:20-cv-08892-PA-AFM Document 30-2 Filed 12/14/20 Page 5 of 23 Page ID #:199


                                                                                               Bryan Moore, Esq.
                                                                                       400 W. 15th St., Ste. 1410
                                                                                            Austin, Texas 78701
                                                                                               +1.512.391.8030
                                                                                             bmoore@bdlaw.com




                                          November 9, 2020

  Via Overnight Mail

  Aurie Galvez
  9350 Wilshire Blvd., Ste. 203
  Beverly Hills, CA 90212

  Thomas Forbes
  3410 La Sierra Ave., Ste. F-496
  Riverside, CA 92503

  Kevin Allyn
  10153 Riverside Dr. #756
  Toluca Lake, CA 91602

         Re:     3M Company v. G7 Environment, LLC, et al., Case No. 2:20-cv-08892-PA-AFM
                 United States District Court for the Central District of California
                 Court’s Order re: Scheduling Meeting of Counsel and Scheduling Conference

  Messrs. Galvez, Forbes & Allyn:

         I am among the attorneys representing Plaintiff 3M Company in the above-referenced
  lawsuit. I write today to ensure that you have each received a copy of the enclosed order issued
  by Judge Anderson, and to schedule the parties’ initial conference per Judge Anderson’s order and
  Rule 26(f) of the Federal Rules of Civil Procedure.

          Given that each of you is proceeding in this matter in propria persona, for your reference
  I have enclosed copies of Rules 16 and 26 of the Federal Rules of Civil Procedure – the two Federal
  Rules of Civil Procedure cited in Judge Anderson’s order.

          Per Judge Anderson’s order and Rule 26(f) of the Federal Rules of Civil Procedure, we
  would propose that the parties meet and confer by telephone conference the week of November 16,
  2020, to consider and discuss the matters set forth in Rule 26(f)(2) and those additional items set
  forth in Judge Anderson’s order. One or more of the attorneys representing Plaintiff 3M Company
  in this matter will be available to attend a conference of the parties the week of November 16, and
  the attorney(s) attending the conference will have authority to enter into stipulations regarding all
  matters pertaining to the conduct of the case. We are generally available the week of November 16
  for a one- to two-hour telephone conference, with the exception of the morning of November 18.
  Please reply to this letter listing dates and times the week of November 16 that you are available




                                Austin, TX Baltimore, MD Boston, MA
                    New York, NY San Francisco, CA Seattle, WA Washington, DC
Case 2:20-cv-08892-PA-AFM Document 30-2 Filed 12/14/20 Page 6 of 23 Page ID #:200



  November 9, 2020
  Page 2


  and we will schedule the meet and confer telephone conference for a date and time the week of
  November 16 that is available for all parties.

          Given the need for timely and prompt correspondence and exchanges between the parties
  regarding the parties’ initial conference and compliance with Judge Anderson’s order, we would
  propose to establish ongoing lines of communication via electronic mail and/or telephone. To that
  end, my email address and telephone number are listed in the header on the first page of this letter.
  So that the parties may efficiently and timely schedule and convene the required initial conference,
  and otherwise comply with Judge Anderson’s order and the deadlines therein, I would strongly
  encourage each of you, or the three of you jointly, to reply to this letter via email to
  bmoore@bdlaw.com.

                                                Sincerely,




                                                Bryan J. Moore
                                                Principal

  Enclosures
  cc:    Jillian C. Joseph (via email: jjoseph@mayerbrown.com)
         Mayer Brown LLP
         Counsel for Plaintiff 3M Company

         Kaitlyn D. Shannon (via email: kshannon@bdlaw.com)
         Beveridge & Diamond, P.C.
         Counsel for Plaintiff 3M Company
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                         EXHIBIT B
Case 2:20-cv-08892-PA-AFM Document 30-2 Filed 12/14/20 Page 8 of 23 Page ID #:202


                                                                                               Bryan Moore, Esq.
                                                                                       400 W. 15th St., Ste. 1410
                                                                                            Austin, Texas 78701
                                                                                               +1.512.391.8030
                                                                                             bmoore@bdlaw.com




                                          November 18, 2020

  Via Overnight Mail

  Aurie Galvez
  9350 Wilshire Blvd., Ste. 203
  Beverly Hills, CA 90212

  Thomas Forbes
  3410 La Sierra Ave., Ste. F-496
  Riverside, CA 92503

  Kevin Allyn
  10153 Riverside Dr. #756
  Toluca Lake, CA 91602

         Re:     3M Company v. G7 Environment, LLC, et al., Case No. 2:20-cv-08892-PA-AFM
                 United States District Court for the Central District of California
                 Court’s Order re: Scheduling Meeting of Counsel and Scheduling Conference

  Messrs. Galvez, Forbes & Allyn:

         As of today, I have not heard back from you regarding my November 9 letter to schedule
  the required meeting of counsel. I write once again to invite and urge you to attend an initial
  conference of the parties, per Judge Anderson’s November 6 order and Rule 26(f) of the Federal
  Rules of Civil Procedure. I have again enclosed Judge Anderson’s order as a courtesy.

          Per Judge Anderson’s order and Rule 26(f) of the Federal Rules of Civil Procedure, the
  parties must confer as soon as practicable – and in any event at least 21 days before the Scheduling
  Conference that Judge Anderson has set for December 28. Accordingly, time is of the essence,
  particularly given the intervening Thanksgiving Day holiday.

          I and my co-counsel representing Plaintiff 3M Company in this matter stand ready and
  available to meet with you by telephone conference any weekday of your choosing before
  December 7, with the exception of November 26 (Thanksgiving Day), to consider and discuss the
  matters set forth in Federal Rule of Civil Procedure 26(f)(2) and those additional items set forth in
  Judge Anderson’s order. Please promptly reply to this letter listing dates and times before
  December 7 that you are available and we will schedule the meet and confer telephone conference
  for a date and time that is available for all parties.




                                Austin, TX Baltimore, MD Boston, MA
                    New York, NY San Francisco, CA Seattle, WA Washington, DC
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  November 18, 2020
  Page 2


          Given the pressing need for timely and prompt correspondence and exchanges between the
  parties regarding the parties’ initial conference and compliance with Judge Anderson’s order, we
  again propose and urge you to establish ongoing lines of communication via electronic mail and/or
  telephone. To that end, my email address and telephone number are listed in the header on the
  first page of this letter. So that the parties may efficiently and timely schedule and convene the
  required initial conference, and otherwise comply with Judge Anderson’s order and the deadlines
  therein, I implore each of you, or the three of you jointly, to reply to this letter promptly via email
  to bmoore@bdlaw.com.

                                                 Sincerely,




                                                 Bryan J. Moore, Principal
                                                 Counsel for Plaintiff 3M Company

  Enclosures
  cc:    Jillian C. Joseph (via email: jjoseph@mayerbrown.com)
         Mayer Brown LLP
         Counsel for Plaintiff 3M Company

         Kaitlyn D. Shannon (via email: kshannon@bdlaw.com)
         Beveridge & Diamond, P.C.
         Counsel for Plaintiff 3M Company
Case 2:20-cv-08892-PA-AFM Document 30-2 Filed 12/14/20 Page 10 of 23 Page ID #:204




                         EXHIBIT C
       Case
12/14/2020       2:20-cv-08892-PA-AFM Document    30-2
                                          Track your       Filed
                                                     package        12/14/20
                                                             or shipment          Page
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                                                                         772031538895


                                                   Delivered
                                        Tuesday 11/10/2020 at 10:04 am



                                                                               DELIVERED

                                                                   Signed for by: A.AURIE



                                                                      GET STATUS UPDATES
                                                                  OBTAIN PROOF OF DELIVERY



                                         FROM                                                                                    TO
                                  Bryan Moore                                                                           Aurie Galvez
                                400 W. 15th Street                                                                   9350 Wilshire Blvd.
                                    Ste. 1410                                                                            Suite 203
                               Austin, TX US 78701                                                               BEVERLY HILLS, CA US 90212
                                  512 391-8030                                                                         512 391-8012



        Shipment Facts

        T R AC K I N G N U M B E R                     SERVICE                                      W E I G HT
        772031538895                                   FedEx Priority Overnight                     1 lbs / 0.45 kgs

        D E L I V E RY AT T E M P T S                  D E L I V E R E D TO                         TOTA L P I E C E S
        1                                              Receptionist/Front Desk                      1

        TOTA L S H I P M E NT W E I G HT               TERMS                                        SHIPPER REFERENCE
        1 lbs / 0.45 kgs                               Shipper                                      04254-019346

        PAC K AG I N G                                 S P E C I A L H A N D L I N G S E CT I O N   S TA N DA R D T R A N S IT
        FedEx Envelope                                 Deliver Weekday
                                                                                                    11/10/2020 by 10:30 am

        S H I P DAT E                                  ACT UA L D E L I V E RY
                                                       Tue 11/10/2020 10:04 am
        Mon 11/09/2020




        Travel History                                                                                                                Local Scan Time

        Tuesday , 11/10/2020
            10:04 am                    BEVERLY HILLS, CA                 Delivered
https://www.fedex.com/apps/fedextrack/?action=track&tracknumbers=772031538895||20201109&cntry_code=us&language=en&clienttype=fhist                      1/2
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         8:38 am                INGLEWOOD, CA                On FedEx vehicle for delivery

         7:35 am                INGLEWOOD, CA                At local FedEx facility

         2:32 am                LOS ANGELES, CA              At destination sort facility

         1:33 am                OAKLAND, CA                  Departed FedEx location

        Monday , 11/09/2020

         9:42 pm                OAKLAND, CA                  Arrived at FedEx location

         7:02 pm                SAN DIEGO, CA                Left FedEx origin facility

         4:57 pm                SAN DIEGO, CA                Picked up

         2:29 pm                                             Shipment information sent to FedEx




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12/14/2020       2:20-cv-08892-PA-AFM Document    30-2
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                                                                          772032401402


                                                    Delivered
                                          Tuesday 11/10/2020 at 9:45 am



                                                                                DELIVERED

                                                                    Signed for by: N.PATEL



                                                                       GET STATUS UPDATES
                                                                   OBTAIN PROOF OF DELIVERY



                                         FROM                                                                                     TO
                                  Bryan Moore                                                                          Thomas Forbes
                                400 W. 15th Street                                                                    3410 La Sierra Ave.
                                    Ste. 1410                                                                             Ste. F-496
                               Austin, TX US 78701                                                                 RIVERSIDE, CA US 92503
                                  512 391-8030                                                                          512 391-8012



        Shipment Facts

        T R AC K I N G N U M B E R                      SERVICE                                      W E I G HT
        772032401402                                    FedEx Priority Overnight                     1 lbs / 0.45 kgs

        D E L I V E RY AT T E M P T S                   D E L I V E R E D TO                         TOTA L P I E C E S
        1                                               Receptionist/Front Desk                      1

        TOTA L S H I P M E NT W E I G HT                TERMS                                        SHIPPER REFERENCE
        1 lbs / 0.45 kgs                                Shipper                                      04254-019346

        PAC K AG I N G                                  S P E C I A L H A N D L I N G S E CT I O N   S TA N DA R D T R A N S IT
        FedEx Envelope                                  Deliver Weekday
                                                                                                     11/10/2020 by 10:30 am

        S H I P DAT E                                   ACT UA L D E L I V E RY
                                                        Tue 11/10/2020 9:45 am
        Mon 11/09/2020




        Travel History                                                                                                                 Local Scan Time

        Tuesday , 11/10/2020
            9:45 am                     RIVERSIDE, CA                      Delivered
https://www.fedex.com/apps/fedextrack/?action=track&tracknumbers=772032401402||20201109&cntry_code=us&language=en&clienttype=fhist                       1/2
       Case
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                                        Track your       Filed
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                                                                                  Tracking


         8:54 am                ONTARIO, CA                  On FedEx vehicle for delivery

         6:23 am                ONTARIO, CA                  At local FedEx facility

         2:51 am                OAKLAND, CA                  Departed FedEx location

        Monday , 11/09/2020
         9:42 pm                OAKLAND, CA                  Arrived at FedEx location

         7:02 pm                SAN DIEGO, CA                Left FedEx origin facility

         4:57 pm                SAN DIEGO, CA                Picked up

         3:11 pm                                             Shipment information sent to FedEx




https://www.fedex.com/apps/fedextrack/?action=track&tracknumbers=772032401402||20201109&cntry_code=us&language=en&clienttype=fhist   2/2
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                                                                                    Tracking




                                                                            772032804696


                                                   Delivered
                                        Tuesday 11/10/2020 at 10:01 am



                                                                                  DELIVERED

                                                                      Signed for by: W.WOLF



                                                                         GET STATUS UPDATES
                                                                     OBTAIN PROOF OF DELIVERY



                                         FROM                                                                                       TO
                                  Bryan Moore                                                                           Kevin Allyn
                                400 W. 15th Street                                                                   10153 Riverside Dr.
                                    Ste. 1410                                                                              #756
                               Austin, TX US 78701                                                             NORTH HOLLYWOOD, CA US 91602
                                  512 391-8030                                                                         512 391-8012



        Shipment Facts

        T R AC K I N G N U M B E R                        SERVICE                                      W E I G HT
        772032804696                                      FedEx Priority Overnight                     1 lbs / 0.45 kgs

        D E L I V E RY AT T E M P T S                     D E L I V E R E D TO                         TOTA L P I E C E S
        1                                                 Mailroom                                     1

        TOTA L S H I P M E NT W E I G HT                  TERMS                                        SHIPPER REFERENCE
        1 lbs / 0.45 kgs                                  Shipper                                      04254-019346

        PAC K AG I N G                                    S P E C I A L H A N D L I N G S E CT I O N   S TA N DA R D T R A N S IT
        FedEx Envelope                                    Deliver Weekday
                                                                                                       11/10/2020 by 10:30 am

        S H I P DAT E                                     ACT UA L D E L I V E RY
                                                          Tue 11/10/2020 10:01 am
        Mon 11/09/2020




        Travel History                                                                                                                   Local Scan Time

        Tuesday , 11/10/2020
            10:01 am                    TOLUCA LAKE, CA                      Delivered
https://www.fedex.com/apps/fedextrack/?action=track&tracknumbers=772032804696||20201109&cntry_code=us&language=en&clienttype=fhist                         1/2
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                                                                       with FedEx        16 of 23 Page ID #:210
                                                                                  Tracking


         8:48 am                SUN VALLEY, CA               On FedEx vehicle for delivery

         8:04 am                SUN VALLEY, CA               At local FedEx facility

         8:04 am                SUN VALLEY, CA               At local FedEx facility

         2:32 am                LOS ANGELES, CA              At destination sort facility

         1:33 am                OAKLAND, CA                  Departed FedEx location

        Monday , 11/09/2020
         9:42 pm                OAKLAND, CA                  Arrived at FedEx location

         7:02 pm                SAN DIEGO, CA                Left FedEx origin facility

         4:57 pm                SAN DIEGO, CA                Picked up

         3:31 pm                                             Shipment information sent to FedEx




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Case 2:20-cv-08892-PA-AFM Document 30-2 Filed 12/14/20 Page 17 of 23 Page ID #:211




                         EXHIBIT D
Case 2:20-cv-08892-PA-AFM Document 30-2 Filed 12/14/20 Page 18 of 23 Page ID #:212
Case 2:20-cv-08892-PA-AFM Document 30-2 Filed 12/14/20 Page 19 of 23 Page ID #:213
Case 2:20-cv-08892-PA-AFM Document 30-2 Filed 12/14/20 Page 20 of 23 Page ID #:214
Case 2:20-cv-08892-PA-AFM Document 30-2 Filed 12/14/20 Page 21 of 23 Page ID #:215
Case 2:20-cv-08892-PA-AFM Document 30-2 Filed 12/14/20 Page 22 of 23 Page ID #:216
Case 2:20-cv-08892-PA-AFM Document 30-2 Filed 12/14/20 Page 23 of 23 Page ID #:217
